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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,          )             Civil No. 19-00389 ACK-KJM
                                 )
                 Plaintiff,      )             ORDER GRANTING PLAINTIFF’S
                                 )             EX PARTE MOTION FOR LEAVE TO
       vs.                       )             SERVE THIRD PARTY SUBPOENA
                                 )             PRIOR TO A RULE 26(f)
  JOHN DOE dba YTS and           )             CONFERENCE
  DOES 1-19,                     )
                                 )
                 Defendants.     )
  _______________________________)

   ORDER GRANTING PLAINTIFF’S EX PARTE MOTION FOR LEAVE TO
  SERVE THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       Plaintiff HB Productions, Inc. (“Plaintiff”) filed an Ex Parte Motion for

 Leave to Serve Third Party Subpoena Prior to a Rule 26(f) Conference on July 19,

 2019 (“Motion”). ECF No. 5. The Court finds this matter suitable for disposition

 without a hearing pursuant to Rule 7.2(d) of the Local Rules of Practice for the

 United States District Court for the District of Hawaii (“Local Rules”). After

 carefully considering the Motion and the applicable law, the Court hereby

 GRANTS Plaintiff’s Motion for the reasons set forth below.

                                  BACKGROUND

       Plaintiff commenced this copyright infringement action on July 19, 2019.

 ECF No. 1. Plaintiff asserts that it is the copyright owner of the motion picture

 “Hellboy” (the “Work”), which “tells the story of a legendary half-demon

 superhero called to the English countryside to battle a trio of rampaging giants
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 where he suddenly becomes caught in a clash between the supernatural and the

 human.” ECF No. 1 at 7 ¶ 20-21. Plaintiff alleges that, without Plaintiff’s consent,

 Doe Defendants 1-19 (“Defendants”) illegally copied and distributed the Work

 through BitTorrent, one of the most common peer-to-peer file sharing protocols

 used for distributing large amounts of data. Id. at 14 ¶ 49, 19 ¶ 75-76, 26 ¶ 117;

 ECF No. 5-1 at 2. Based on these allegations, Plaintiff asserts claims against

 Defendants for direct copyright infringement and contributory copyright

 infringement pursuant to 17 U.S.C. § 101, et seq (“the Copyright Act”). ECF No.

 1 at 24-26.

       Plaintiff does not know Defendants’ names and addresses because these

 Defendants used the Internet anonymously when conducting their allegedly

 infringing activities. ECF No. 5-1 at 2. Plaintiff has nonetheless been able to

 identify (1) the Internet Protocol (“IP”) addresses that are being used by those

 individuals participating in the allegedly infringing activities, and (2) the time of

 the infringement. Id.; ECF No. 1-1, Ex. 1 to Complaint. Plaintiff has also

 identified the related Internet Service Providers (“ISP”) as Charter

 Communications, LLC dba Spectrum (“Spectrum”). ECF No. 5-1 at 2.

 Accordingly, Plaintiff seeks leave to take early discovery through subpoenas to

 Spectrum to determine the names and addresses of the subscribers/Defendants

 connected to the IP addresses that have been linked to the alleged infringement of

 Plaintiff’s Work. Id.
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                                     DISCUSSION

       Generally, unless authorized by court order, a party is prohibited from

 seeking discovery before the Federal Rule of Civil Procedure 26(f) conference.

 Fed. R. Civ. P. 26(d)(1). In rare situations, “courts have made exceptions,

 permitting limited discovery to ensue after filing of the complaint to permit the

 plaintiff to learn the identifying facts necessary to permit service on the

 defendant.” Columbia Ins. Co. v. Seescandy.com, 185 F.R.D. 573, 577 (N.D. Cal.

 1999) (citing Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980)). In deciding

 whether to allow early discovery, courts consider whether a plaintiff has shown

 good cause. See Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D. 273, 276

 (N.D. Cal. 2002). “Good cause” may be found where the “need for expedited

 discovery, in consideration of the administration of justice, outweighs the prejudice

 to the responding party.” Id.

       Where the identity of the defendant is not known, the Ninth Circuit has held

 that a plaintiff “should be given an opportunity through discovery to identify the

 unknown defendants, unless it is clear that discovery would not uncover the

 identity, or that the complaint would be dismissed on other grounds.” Gillespie,

 629 F.2d at 642. Courts examine various factors in evaluating whether a plaintiff

 has established good cause for early discovery to assist in the identification of doe

 defendants, including whether plaintiff has made a prima facie showing of

 infringement, whether plaintiff has identified the doe defendants with sufficient
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 particularity, and whether the requested discovery is likely to lead to identifying

 information. See, e.g., Patrick Collins, Inc. v. Does 1-1219, No. C 10-14468 LB,

 2010 WL 5422569, at *2 (N.D. Cal. Dec. 28, 2010) (citations omitted). Courts

 have found that good cause exists to permit “expedited discovery to ascertain the

 identities of Doe defendants in copyright infringement actions.” AF Holdings,

 LLC v. Doe, Civ. No. S-12-1078 GEB GGH, 2012 WL 1610185, at *2 (E.D. Cal.

 May 8, 2012) (citing UMG Recordings, Inc. v. Doe., No. C-08-03999 RMW, 2008

 WL 4104207 (N.D. Cal. Sept. 4, 2008); Arista Records LLC v. Does 1-43, Civil

 No. 07cv2357-LAB (POR), 2007 WL 4538697 (S.D. Cal. Dec. 20, 2007)).

       The Court finds that Plaintiff has made a sufficient showing to establish

 good cause to engage in early discovery to identify Defendants. First, Plaintiff has

 made a prima facie showing of copyright infringement and contributory copyright

 infringement. Plaintiff has alleged that: (1) it owns and has registered the Work;

 (2) Defendants copied and distributed the Work without authorization; and (3)

 Defendants’ actions damaged Plaintiff. As to Plaintiff’s claim for contributory

 copyright infringement, Plaintiff alleges that each Defendant caused or materially

 contributed to the direct infringement of Plaintiff’s copyright by other Defendants

 by participating in “BitTorrent swarm” with the other Defendants. These

 allegations are minimally sufficient to state a claim for contributory copyright

 infringement. See Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004)

 (concluding that a reasonable trier of fact could conclude that storing infringing
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  copies of copyrighted works on a peer-to-peer file sharing network and providing

  the network’s users with access to those copies materially contributed to the

  copyright infringement).

        Second, in its Complaint, Plaintiff has identified Defendants with as much

  specificity as presently possible. Plaintiff states that a third party, using forensic

  software, scanned and analyzed peer-to-peer networks, and identified Doe

  Defendants as persons or entities that were infringing on Plaintiff’s copyrighted

  work. See ECF No. 1 at 18-20. Plaintiff provided as Exhibit 1 to its Complaint a

  list of the IP addresses associated with each Defendant, along with the “hit date”

  that each IP address subscriber allegedly infringed on Plaintiff’s copyrighted work.

  See ECF No. 1-1 at 1. The IP addresses are located in the state of Hawai‘i, which

  indicates that the Court likely has jurisdiction over the Doe Defendants. Id. at 3.

        The Court is not aware of any other reasonable measures Plaintiff could

  have taken thus far to identify Defendants other than to obtain the subscribers’

  identifying information from the ISP. Moreover, Plaintiff has demonstrated that




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  the proposed subpoenas seek information likely to lead to identifying information

  that will allow Plaintiff to effect service of process on the Doe Defendants.1

        Based on the foregoing, the Court finds that Plaintiff has demonstrated good

  cause to grant Plaintiff leave to conduct the early discovery requested in the

  Motion.

                                     CONCLUSION

        The Court hereby GRANTS Plaintiff’s Ex Parte Motion for Leave to Serve

  Third Party Subpoena Prior to a Rule 26(f) Conference, filed July 19, 2019, as

  follows:

        (1)    Plaintiff is allowed to serve Rule 45 subpoenas on Spectrum to obtain
               the name and address of each subscriber associated with the IP
               addresses on the dates indicated in Exhibit 1 to the Complaint;

        (2)    Plaintiff shall serve a copy of this Order with any subpoenas issued
               pursuant to this Order;



  1
     The Court expresses no opinion as to whether this identifying information will
  ultimately reveal the individual or entity who allegedly committed the infringing
  act. Case law acknowledges the increasing number of devices and users for each
  IP address. See, e.g., In re BitTorrent Adult Film Copyright Infringement Cases,
  296 F.R.D. 80, 84 (E.D.N.Y. 2012) (“[I]t is no more likely that the subscriber to an
  IP address carried out a particular computer function . . . than to say an individual
  who pays the telephone bill made a specific telephone call.”); Malibu Media LLC
  v. Does 1-5, No. 12 Civ. 2950 (JPO), 2012 WL 2001968, at *1 (S.D.N.Y. June 1,
  2012) (“The fact that a copyrighted work was illegally downloaded from a certain
  IP address does not necessarily mean that the owner of that IP address was the
  infringer.”); Digital Sin, Inc. v. Does 1–176, 279 F.R.D. 239, 242 (S.D.N.Y. 2012)
  (noting the risk of “false positives” if the individuals identified by ISPs are not the
  individuals who downloaded the films at issue).

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        (3)   The subpoenas authorized by this Order shall be deemed appropriate
              court orders under 47 U.S.C. § 551;

        (4)   Spectrum shall have 30 days from the date of service upon it to serve
              the subscribers of the IP addresses with a copy of the subpoenas and a
              copy of this Order. Spectrum may serve the subscribers by any
              reasonable means, including written notice sent to the subscriber’s last
              known address via first class mail;

        (5)   The subscribers shall have 30 days from the date of service upon them
              to file any motions in this court contesting the subpoena. If that 30-
              day period lapses without a subscriber contesting the subpoena,
              Spectrum shall have 10 days to produce the information responsive to
              the subpoena to Plaintiff;

        (6)   After Spectrum is properly served with Rule 45 subpoenas as detailed
              above, Spectrum shall preserve all subpoenaed information pending
              the delivery of such information to Plaintiff or the resolution of a
              timely filed and granted motion to quash the subpoena with respect to
              such information; and

        (7)   Any information disclosed to Plaintiff in response to a subpoena may
              be used by Plaintiff solely for the purpose of protecting its rights
              under the Copyright Act, 17 U.S.C. § 101, et seq.

        IT IS SO ORDERED.

        DATED: Honolulu, Hawaiʻi, August 16, 2019.




                                   Kenneth J. Mansfield
                                   United States Magistrate Judge




  Civil No. 19-00389 ACK-KJM; HB Productions, Inc. v. Does 1-19; ORDER GRANTING
  PLAINTIFF’S EX PARTE MOTION FOR LEAVE TO SERVE THIRD PARTY SUBPOENA
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